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                      Exhibit 19
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                                                                 FILED UNDER SEAL
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

COURTNEY LINDE, et al.,

                          Plaintiffs,            Case No. CV 04 2799(NG)(VVP)
      -against-

ARAB BANK, PLC,

                          Defendant.


PHILIP LITLE, et al,
                                                 Case No. CV 04 5449(NG)(VVP)
                          Plaintiffs,
      -against-

ARAB BANK, PLC,

                          Defendant.


ORAN ALMOG, et al.,

                          Plaintiffs,

      -against-
                                                 Case No. CV 04 5564(NG)(VVP)
ARAB BANK, PLC,

                          Defendant.


ROBERT L. COULTER, SR.,

FOR THE ESTATE OF JANIS RUTH
COULTER, et al,
                                                 Case No. CV 05 365(NG)(VVP)
                          Plaintiffs,

      -against-

ARAB BANK, PLC,

                          Defendant.




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GILA AFRIAT-KURTZER, et al.,

                        Plaintiffs,              Case No. CV 05 388(NG)(VVP)

      -against-

ARAB BANK, PLC,

                        Defendant.




MICHAEL BENNETT, et al.,
                                                 Case No. CV 05 3183(NG)(VVP)
                        Plaintiffs,

      -against-

ARAB BANK, PLC,

                        Defendant.



ARNOLD ROTH, et al.,

                        Plaintiffs,              Case No. CV 05 3738(NG)(VVP)

      -against-

ARAB BANK, PLC,

                        Defendant.



STEWART WEISS AND SUSAN WEISS, et al,

                        Plaintiffs,              Case No. CV 06 1623(NG)(VVP)

      -against-

ARAB BANK, PLC,

                        Defendant.




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JOSEPH JESNER, et al,

                        Plaintiffs,              Case No. CV 06 3869(NG)(VVP)

      -against-

ARAB BANK, PLC,
                        Defendant.




YAFFA LEV, et al,

                        Plaintiffs,              Case No. CV 08 03251(NG)(VVP)
      -against-

ARAB BANK, PLC,

                        Defendant.



             DEFENDANT ARAB BANK PLC's MEMORANDUM IN SUPPORT
              OF OBJECTIONS TO MAGISTRATE JUDGE POHORELSKY'S
                  REPORT AND RECOMMENDATION ON SANCTIONS




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               Defendant Arab Bank Plc ("Arab Bank" or the "Bank") respectfully submits its limited

Objections, pursuant to Fed. R. Civ. P. 72(b), to the June 1, 2009 Report and Recommendation issued

by Magistrate Judge Pohorelsky (Linde Doc. No. 560) ("June 1 Report"), as modified by his June 18,

2009 Order Modifying Report and Recommendation (Linde Doc. No. 567) (2009 WL 1743988

(E.D.N.Y. June 18, 2009)) ("June 18 Modification") (collectively referred to as "Report and

Recommendation").      While Magistrate Judge Pohorelsky fashioned his ruling as a Report and

Recommendation subject to de novo review - in connection with which the parties have filed for the

Court's consideration their entire submission below as a Joint Appendix ("JA") - his findings and

proposal are an appropriate benchmark for addressing the relief sought by plaintiffs.

               Magistrate Judge Pohorelsky's Report and Recommendation was issued in response to a

motion by plaintiffs in the above-captioned cases, pursuant to Fed. R. Civ. P. 37(b)(2)(A), seeking

sanctions against Arab Bank on account of the Bank's inability to comply fully with certain discovery

orders due to limitations imposed by bank secrecy statutes carrying criminal penalties in several of the

sovereignties in which Arab Bank operates. Notwithstanding the fact that the Bank had managed to

produce lawfully hundreds of thousands of records and to make available witnesses for weeks of

deposition testimony relating to each of plaintiffs' core claims, plaintiffs sought severe sanctions

against the Bank.   Indeed, plaintiffs ignored and misrepresented Arab Bank's record of extensive

production, which confounded plaintiffs' strategy ab initio of leveraging the bank secrecy restrictions

applicable to Arab Bank into a prima facie case against the Bank.        Plaintiffs further ignored and

misrepresented the content of that production, which consistently reflect the Bank's lawful and proper

practices. Plaintiffs ultimately sought adverse findings against Arab Bank to establish what the records

and testimony produced by the Bank do not, namely knowing support of terrorism by the Bank.

Magistrate Judge Pohorelsky properly rejected the adverse findings proposed by plaintiffs. He did




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recommend, however, certain adverse inferences to which Arab Bank now objects as unwarranted and

unnecessary when considered in light of the complete discovery record in this litigation.


                                        PRELIMINARY STATEMENT

                 From the outset of discovery proceedings, Magistrate Judge Pohorelsky recognized that

foreign bank secrecy laws presented a substantial impediment to disclosure of account records and

information by Arab Bank. See, e.g., Linde v. Arab Bank, Plc, 2007 WL 4373252, at *1, (E.D.N.Y.

Dec. 10, 2007) (describing as "anticipated" the "litigation concerning applicability of, and the effect to

be given to, any such bank secrecy laws during the discovery process.") The consolidated actions that

comprise this litigation involve more than 4,000 foreign citizens, as well as several hundred non-U.S.

residents, 1 all of whom seek money damages against an international bank headquartered in Jordan, for

the provision of financial services predominantly in the Middle East.                   It was thus inevitable that

plaintiffs' discovery requests would give rise to conflicts with the criminal bank secrecy laws of

numerous foreign jurisdictions. These laws include, in particular, Jordanian Banking Law No. 28 of

2000, Palestinian Monetary Authority (PMA) Banking Law No. 2 of 2002 and Lebanese bank secrecy

law of September 3, 1956, as well as the laws of several other jurisdictions in which Arab Bank

operates. Indeed, even the bank secrecy law of Israel, Protection of Privacy 5741-1981, bears on this

litigation.   That law has been invoked successfully by Israeli banks - Bank Hapoalim and Israel

Discount Bank Ltd. - as a basis for refusing compliance with subpoenas issued by Arab Bank seeking

those banks' records of financial transactions processed for the benefit of some of the very same




1
   Of all the U.S. citizens who have invoked the jurisdiction of this Court pursuant to the Anti-Terrorism Act, 18 U.S.C.
§ 2333, fewer than 40 plaintiffs in these actions actually reside in the United States. The primary residence of most
plaintiffs, including those with dual U.S. and Israeli citizenship, is Israel.



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charities alleged to be terrorist front organizations that form the basis of plaintiffs' claims against Arab

Bank. 2

                  The Report and Recommendation by Magistrate Judge Pohorelsky is, thus, the

culmination of a process that was carefully designed to maximize the Bank's production of truly

relevant records and information to plaintiffs while minimizing the adverse impact on either party from

very real and acknowledged limitations on complete production. Magistrate Judge Pohorelsky's June

1 Report was issued after extensive briefing and oral argument on the issue of sanctions, as well as

extensive briefing on the underlying issue of foreign bank secrecy.                            (This Court upheld the

Magistrate's Order of November 25, 2006 conditionally overruling Arab Bank's bank secrecy

objections.) (See Linde v. Arab Bank, Plc, 463 F. Supp. 2d 310 (E.D.N.Y. 2006), aff'd, 2007 WL

812918 (E.D.N.Y. March 14, 2007.) Magistrate Judge Pohorelsky also accepted Arab Bank's motion

for reconsideration of his June 1 Report, and heard two hours of additional oral argument on that

motion. (Linde Doc. No. 566, June 16, 2009 Transcript of Status Conference before Magistrate Judge

Pohorelsky.) Acknowledging that he had under-appreciated the substantive content of the extensive

records and information produced by Arab Bank to plaintiffs, and over-valued the significance of

documents withheld by the Bank on grounds of bank secrecy, he granted the motion for


2
   Arab Bank has sought discovery from Bank Hapoalim and Israeli Discount Bank as non-parties now that the Court has
granted motions to dismiss Arab Bank's third-party claims against them. (Litle Doc. No. 531, April 3, 2009 Decision and
Order.) From Arab Bank's own records, produced to plaintiffs, there is indisputable evidence that Israeli banks participated
with Arab Bank in the processing of money transfers to and from some of the same charities alleged by plaintiffs to be
terrorist fronts. (See Ex. A to the Declaration of Alan B. Howard in Support of Arab Bank's Objections to Magistrate
Judge Pohorelsky's Report and Recommendation on Sanctions ("Howard Obj. Decl."), submitted herewith, consisting of
records of transfers of funds between customers of the Israeli Discount Bank and the Nablus Zakat Committee,
ABPLC008941, ABPLC008976, ABPLC009036, ABPLC009043, ABPLC009048.) Arab Bank has sought additional
evidence of such transactions from the Israeli banks themselves, not as evidence that the Israeli banks have knowingly
supported terrorism, but as proof that the processing of financial transactions for these organizations was lawful and
legitimate rather than evidence of an intention to destroy the State of Israel. Since no one - and certainly not plaintiffs -
would accuse Israeli financial institutions of supporting terrorism against Israelis, the fact that they provided services for
some of the same entities as did Arab Bank is highly probative of Arab Bank's legitimate purpose in processing these
financial transactions. Magistrate Judge Pohorelsky, however, has upheld the bank secrecy objection asserted by the Israeli
banks. (Linde Doc. No. 559, May 22, 2009 Order granting in part and denying in part Arab Bank's Motion to Compel
Production of Documents by Nonparty Israeli Banks.)



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reconsideration, and issued a 4-page opinion modifying his original 23-page June 1 Report. (See June

18 Modification at 3:    "the court overlooked factual information and arguments submitted by the

defendant in their opposition to the plaintiffs' sanctions motion which demonstrate that the documents

produced by the bank did in fact provide a good deal of information . . . ")

               In his Report and Recommendation, Magistrate Judge Pohorelsky correctly rejected

plaintiffs' invitation to use the Bank's compliance with foreign bank secrecy laws as a means to punish

the Bank, and he similarly rejected plaintiffs' attempt to establish liability against Arab Bank not by

the proffer of evidence (which does not exist), but rather through adverse findings that the Bank

knowingly processed financial transactions in support of terrorism.       Indeed, in his June 1 Report,

Magistrate Judge Pohorelsky appropriately found that there has been no bad faith by Arab Bank in its

conduct with respect to discovery. (June 1 Report at 9: "the court cannot find that [the Bank] is acting

in bad faith.") Magistrate Judge Pohorelsky also concluded, with ample support, that there was no

basis to find - or even infer - from the discovery record in this litigation any knowledge or intent by

Arab Bank to finance terrorism, or to provide financial services for the benefit of terrorists. (June 1

Report at 15-19.) In reaching these conclusions, Magistrate Judge Pohorelsky properly recognized that

the purpose of evidentiary sanctions is to restore "evidentiary balance" by placing the parties in the

same position in which they would have been had Arab Bank been able to produce the records covered

by foreign bank secrecy laws. (June 1 Report at 2-3, citing Turner v. Hudson Transit Lines, Inc., 142

F.R.D. 68, 75 (S.D.N.Y. 1991).)

               Arab Bank nonetheless objects to two of the sanctions recommended by Magistrate

Judge Pohorelsky, to the extent they propose inferences against the Bank that are either excessive or

unnecessary to achieve the proper evidentiary balance, or permit inferences of facts that would never

have been established by full production of account records had such production been authorized by




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the foreign authorities that the Bank repeatedly petitioned.                      Specifically, Arab Bank objects to

recommended sanction no. 1, relating to financial transactions originated by the Saudi Committee in

Support of the Intifada al Quds ("Saudi Committee"). 3 Even as modified, after reconsideration, from

an adverse finding to a rebuttable adverse inference, the proposed sanction is wholly inconsistent with

records produced by the Bank. Any prejudice to plaintiffs that has resulted from their failure to obtain

the individual customer records of each beneficiary of the Saudi Committee is, moreover, adequately

addressed by recommended sanction no. 4, 4 to which the Bank does not object. The Bank also objects

to recommended sanction no. 2, which proposes an adverse inference concerning account-holdings and

financial transactions on behalf of other entities and individuals, 5 especially in light of the fact that

Magistrate Judge Pohorelsky's recommendation is uninformed by more particularized findings. The

record simply does not support a universally applied inference of financial services provided by the

Bank to all entities and individuals that plaintiffs speculate were customers of the Bank. Finally, Arab

Bank does not object to recommended sanction no. 3.6




3
    As modified, recommended sanction no. 1 reads as follows: "Because the defendant has not produced relevant
documents in its possession the jury may, but are not required, to infer that the withheld records would prove that between
2000 and 2004 the defendant processed and distributed payments on behalf of the Saudi Committee in Support of the
Intifada Al Quds to terrorists, or to the relatives or representatives of terrorists, including terrorists affiliated with HAMAS,
the Palestinian Islamic Jihad, the Popular Front for the Liberation of Palestine or the Al Aqsa Martyrs Brigade, as well as
terrorists or the relatives or representatives of terrorists not affiliated with any terrorist organizations." (June 18
Modification at 4.)
4
   Recommended sanction no. 4 reads as follows: "A direction that the defendant is precluded from offering in evidence at
any trial any documents or other information withheld from discovery on bank secrecy law grounds." (June 1 Report at
22.)
5
   Recommended sanction no. 2 reads as follows: "An instruction to be given to every jury that addresses the issue of
liability advising that because the defendant has refused to produce relevant documents in its possession the jury may, but
are not required, to infer that the records would prove that during the period from 1994 to 2004 the defendant provided
financial services, either directly or indirectly, to foreign terrorist organizations - including HAMAS, the Palestinian
Islamic Jihad, the Popular Front for the Liberation of Palestine, and the Al Aqsa Martyrs Brigade - and to individuals
affiliated with foreign terrorist organizations." (June 1 Report at 22.)
6
  Recommended sanction no. 3 reads as follows: "A direction that all requests for admissions in the plaintiffs' First Set of
Requests for Admissions which the defendant has declined to answer on foreign bank secrecy law grounds are deemed
admitted, and that any documents referred to in those requests as to which the plaintiffs sought confirmation of their
authenticity as business records of the defendant are admissible at trial as such." (June 1 Report at 22.)



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         RECORD OF ARAB BANK'S DISCOVERY EFFORTS AND PRODUCTION

               In compliance with carefully structured orders of the Court, and as a result of its own

voluntary initiatives, Arab Bank made extensive productions to plaintiffs, in certain cases after seeking

and obtaining the waiver of foreign bank secrecy laws.       Details concerning the chronology of the

Court's discovery orders are set forth at pp. 8-14 of Defendant's Memorandum of Law in Opposition

to Plaintiffs' Motion for an Order Pursuant to Federal Rule of Civil Procedure 37(b)(2)(A), which is

annexed at Tab II to the parties' Joint Appendix to their respective Objections to the Report and

Recommendation, and which Arab Bank incorporates by reference.              The record of Arab Bank's

compliance with those discovery orders, and details concerning the complete picture of discovery,

bears repeating here. Notably, the Bank made a full production of records and deposition testimony on

matters not covered by foreign bank secrecy, as well as a production of extensive additional records

and testimony after obtaining governmental authorization or private party consent, or based on other

exceptions to bank secrecy. The Bank also pursued foreign judicial remedies and official requests for

further governmental authorizations, and these efforts must be considered for the complete context of

Arab Bank's conduct in discovery. Indeed, this entire record should be considered by this Court in its

evaluation of the Report and Recommendation and the question of sanctions.

       A.      Arab Bank's Record Of Production

               To evaluate properly Magistrate Judge Pohorelsky's Report and Recommendation, and

to assess fairly the propriety of any sanctions against Arab Bank, the Bank respectfully submits that it

is necessary for the Court to understand and appreciate the volume and substance of documents the

Bank has provided to plaintiffs, as well as the content of lengthy testimony that plaintiffs have taken of

Bank witnesses. Indeed, Magistrate Judge Pohorelsky himself acknowledged, in granting the Bank's

motion or reconsideration, that his initial June 1 Report reflects a "failure to appreciate the nature and

extent of the information provided by the defendant" which failure "led the court to overestimate the


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importance of the evidence that has been withheld and the extent of the consequent prejudice to the

plaintiffs." (June 18 Modification at 3.) Arab Bank sets forth herein, and in the Joint Appendix

submitted herewith, a comprehensive account of its discovery record to facilitate the Court's

evaluation of that record from the outset.

               The Bank voluntarily undertook substantial efforts that resulted in the production of

records and the presentation of witnesses relating to each of plaintiffs' core factual contentions in this

case, even in advance of Magistrate Judge Pohorelsky's initial ruling on bank secrecy in November

2006, when Arab Bank's foreign bank secrecy objections were conditionally overruled.            First and

foremost, Arab Bank sought and obtained the consent of the Saudi Committee, which plaintiffs have

alleged to be the sponsor of a "comprehensive terrorist insurance scheme" to pay families of so-called

"martyrs", to produce records of the Bank's processing of financial transactions at the instruction of

the Saudi Committee's bank.      (Linde Doc. No. 4, August 10, 2004 First Amended Complaint, at

^ 310.) With such consent in hand, Arab Bank produced all payment instructions originated by the

Saudi Committee and ultimately processed by Arab Bank, as well as all correspondence between Arab

Bank and the Saudi Committee's bank, Arab National Bank, relating to the Saudi Committee. Arab

Bank also produced for deposition a Fed. R. Civ. P. 30(b)(6) witness who provided three days of

testimony as to Arab Bank's role in those transactions and communications.

               Documents and testimony concerning the Saudi Committee were not, however, the only

records produced in this action. In connection with plaintiffs' allegations that Arab Bank knowingly

provided banking and financial services directly for terrorist organizations and for entities (e.g.,

charitable organizations) alleged to be "fronts" for terrorist organizations: Arab Bank has produced all

account records relating to the one account that plaintiffs falsely allege was maintained directly for the

benefit of the terrorist organization Hamas. Arab Bank also made available a Fed. R. Civ. P. 30(b)(6)




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witness to testify for two days about all aspects of this account.     In addition, the Bank produced

account opening records and thousands of transactional records of money transfers processed through

Arab Bank by and to numerous charities alleged by plaintiffs to be terrorist "fronts".

               The nature and scope of Arab Bank's production is described below and in a Chart

annexed as Ex. A to the Declaration of Alan B. Howard ("Howard Decl.") previously submitted to

Magistrate Judge Pohorelsky. (J.A. Tab II, Howard Decl., Ex. A.)

               1.     Production of Saudi Committee Records and Related Testimony

               Arab Bank produced more than 180,000 records relating to the payments it processed,

upon instructions issued by Arab National Bank, on behalf of that bank's customer, the Saudi

Committee.    This production contained detailed transaction records of each of more than 175,000

Saudi Committee payments. Each transaction record contains the name of every individual or entity

that received money from the Saudi Committee through Arab Bank, and the amount of money received

by such recipient.   (See, e.g., J.A. Tab II, Howard Decl., Ex. A, Tabs 1 and 2 to Chart.)        These

transaction records also provide plaintiffs with additional identifying information concerning the Saudi

Committee beneficiaries, including addresses, phone numbers and, on some occasions, even

identification numbers. (See J.A. Tab II, Howard Decl., Ex. A, Tab 1 to Chart.) (See also J.A. Tab V,

Ex. A to Arab Bank's June 2, 2009 Motion for Reconsideration of the June 1 Report.) The records

produced by the Bank also indicate whether the payment was made to an Arab Bank account-holder, in

which case the branch and account number are also stated, (id.), or whether the account was paid in

cash, in which case the remitting Arab Bank branch is identified (J.A. Tab II, Howard Decl., Ex. A,

Tab 1 to Chart).

               In addition to the individual transaction records for each and every Saudi Committee

payment, Arab Bank produced all correspondence between Arab Bank and Arab National Bank

relating to the Saudi Committee payments.         This correspondence, which exceeds 5,000 pages,


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describes, among other things, the administrative procedures followed by the Bank in processing

payment instructions originated by the Saudi Committee. 7 (See, e.g., J.A. Tab II, Howard Decl., Ex. A,

Tab 3 to Chart.)        Arab Bank also produced 73 transaction records reflecting Saudi Committee

payments cleared through its New York branch, Arab Bank New York ("ABNY"), and ultimately paid

to account holders at banks in the Middle East other than Arab Bank, in accordance with routine

international banking procedures. (See J.A. Tab II, Howard Decl., Ex. A, Tab 4 to Chart.) Finally,

Arab Bank produced records from ABNY reflecting bank-to-bank transactions, initiated by Arab

National Bank, to transfer money between dollar accounts maintained at ABNY by Arab National

Bank and Arab Bank Ramallah respectively. (See J.A. Tab II, Howard Decl., Ex. A, Tab 5 to Chart.) 8

                 Arab Bank also produced a Fed. R. Civ. P. 30(b)(6) witness, Fawzan Shukri, then head

of global operations for the Bank, who testified for three days about the Bank's processing of

transactions originated by the Saudi Committee. Mr. Shukri was questioned at length about the proper

interpretation of the transaction records produced to plaintiffs. (See J.A. Tab II, Howard Decl., Ex. B,

Excerpts from Shukri Tr.) A significant portion of the deposition examination of two other Arab Bank

managers, Tayseer Sadeq and Mohammed al-Tahan, was also devoted to the subject of the Saudi

Committee, and to correspondence with Arab Bank's correspondent bank in Saudi Arabia, Arab

National Bank. Mr. Sadeq, the Bank's financial manager in the Palestinian Territories, and Mr. Tahan,

the Bank's head of operations and the person responsible for client accounts in the Palestinian

Territories, were deposed by plaintiffs for three full days and parts of four days, respectively. (See J.A.

7
    There was no correspondence directly between Arab Bank and the Saudi Committee, and the testimonial record
established that the only direct communication between the Bank and the Saudi Committee was a single phone call, also
attended by a representative of Arab National Bank, to discuss the logistics and timing of processing $132 monthly
payments by the Saudi Committee to Palestinian families in need of financial support. (J.A. Tab II, Howard Decl., Ex. B,
Excerpts from Transcript of April 30 - May 2 Deposition of Fawzan Shukri ("Shukri Tr.") at 458:7-459:24.)
8
  These records of 26 "cover" transactions initiated by Arab National Bank actually provide no information concerning the
underlying Saudi Committee payments; those payment details are separately reflected in the individual instructions which
the Bank produced, in their entirety, to plaintiffs. Indeed, these 26 records do not even mention the Saudi Committee. (See
J.A. Tab II, Howard Decl., Ex. A, Tab 5 to Chart.) However, they were produced in response to plaintiffs' repeated and
false assertion to this Court that the cover transaction records had been withheld deliberately by Arab Bank.



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Tab II, Excerpts from Transcript of May 3-5, 2007 Deposition of Tayseer Sadeq ("Sadeq Tr.") and

Excerpts from Transcript of May 6-9, 2007 Deposition of Mohammed al-Tahan ("Al-Tahan Tr."),

Howard Decl., Ex. Q and R, respectively.) In total, 66 documents relating to the Saudi Committee and

produced by Arab Bank were used as exhibits at these three depositions.

                Significantly, this entire production was made possible by the Bank's voluntary efforts

to solicit and obtain the consent of the Saudi Committee to disclose records and information relating to

its payments processed by Arab Bank. Had the Bank truly been intent on defying the orders of the

Court, and withholding evidence in discovery, the Bank never would have approached Arab National

Bank and the Saudi Committee for their consent. Absent that consent, bank secrecy laws would have

prevented disclosure of all of the records and information relating to the Saudi Committee that has

been provided to plaintiffs.   The Bank's efforts instead reflect its intent to be as forthcoming in

discovery as possible, not only to be compliant with the Court's orders, but also to serve the Bank's

own interest in disclosing its records - records which refute Plaintiffs' allegations of any knowing

support of terrorism.

                Indeed, none of the many thousands of records relating to the Saudi Committee reflects

any understanding, let alone intent, by Arab Bank to support terrorism. Notably, not one of the records

identifies any Saudi Committee beneficiary as a terrorist. Nor do any of these records state any intent

by the Saudi Committee to support terrorism.      To the contrary, these records demonstrate that the

Saudi Committee - an entity organized and operated by the Saudi Arabian Government - conformed

precisely to the description and purpose offered by the Saudis to the U.S. Government and to the world

at large:   a humanitarian organization devoted to assisting Palestinian families in need.    (See J.A.

Tab II, Howard Decl., Ex. V-Z.) Arab Bank also formed such an understanding, as is reflected in the

unequivocal testimony of the Arab Bank representatives who have been deposed by plaintiffs. (See,




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e.g., J.A. Tab II, Howard Decl., Ex. B, Shukri Tr. at 193:19-22:       "Sir, from the nature of these

transfers, the beneficiaries, Arab Bank always looked upon and perceived the Saudi Committee for the

Support of the Intifada Al Quds as for humanitarian reasons;" J.A. Tab II, Howard Decl., Ex. R, Al-

Tahan Tr. at 66:16-22:       "The beneficiaries are not the beneficiaries from the Intifada.       The

beneficiaries are poor people, and hence, my understanding is that when the bank paid the transfers, it

paid according to sound policies and procedures;" J.A. Tab II, Howard Decl., Ex. Q, Sadeq Tr. at

118:22-24:   "I came to know of the existence of the Saudi Committee, which provide[s] aid and

assistance to all peoples of the world.")

               Among the Saudi Committee records produced by Arab Bank were a handful of lists of

Saudi Committee beneficiaries, reflecting the inclusion, among the thousands of recipients of Saudi

Committee funds, of a very small number of family members of suicide bombers.          (See, e.g., J.A.

Tab II, Howard Decl., Ex. A, Tab 3 to Chart.) These lists were prepared by the Saudi Committee, just

as the beneficiaries themselves were selected by the Saudi Committee, based on criteria devised by the

Saudi Committee, with absolutely no input by Arab Bank. (J.A. Tab II, Howard Decl., Ex. B, Shukri

Tr. 268:5-269:19, 290:10-21.) The inclusion of these family members among the beneficiaries of the

Saudi Committee, however, did not indicate to Arab Bank that the Saudi Committee was a sponsor of

terrorism any more than it did to the U.S. Government, which, presumably after its review of no less

information than had been available to the Bank, concluded the Saudi Committee was a legitimate

humanitarian effort. (See J.A. Tab II, Arab Bank Mem. of Law in Opposition to plaintiffs' sanctions

motion, at 39-41) (see also Lev Doc. No. 9, Memorandum of Law of Defendant Arab Bank PLC in

Support of Its Motion to Dismiss the Complaint, at 9-14, and Ex. 10-13 thereto.)

               The only records even tangentially related to the Saudi Committee which the Saudi

Committee's consent could not cover, and which therefore could not be produced without violation of




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governing laws, were the account records and other transaction records of the recipients of the money

from the Saudi Committee. 9 Yet there is no basis to infer that these records would establish an

alternative picture of the Saudi Committee, let alone a finding as originally sought by plaintiffs, that

the Bank knew the Saudi Committee was a sponsor of terrorism. As Magistrate Judge Pohorelsky

concluded, "whether [these] withheld documents would actually disclose any relevant information, and

how much information they would disclose, is necessarily a subject of speculation."                               (June 18

Modification at 4.)

                  2.       Production of Account and Transaction Records and Related Testimony

                  As a second theory of liability, plaintiffs have alleged that the Bank provided assistance

to terrorist organizations and alleged terrorist front organizations. Arab Bank produced a large volume

of documents, falling into two distinct categories, that relate to this theory.                        These documents

uniformly disprove, rather than substantiate, plaintiffs' allegations. Plaintiffs are therefore seeking to

establish by sanction what they know they cannot establish with evidence.

                  First, Arab Bank produced all account records and transactional documents relating to

an account formerly maintained at Arab Bank's Al-Mazra branch in Beirut, Lebanon (the "Beirut
9
   As an additional component of Arab Bank's production relating to the Saudi Committee, Arab Bank also made a
supplemental production that addressed allegations by plaintiffs concerning certain procedures purportedly followed by the
Bank in processing payments to beneficiaries identified by the Saudi Committee. A complete description of this
supplemental production is found at pp. 18-21 of the Bank's Memorandum in Opposition to plaintiffs' sanctions motion
(J.A. Tab II). In short, Arab Bank produced, in redacted form, all of the identifying documentation provided by the
beneficiaries relating to 122 Saudi Committee funds transfers for which the beneficiaries were designated by the Saudi
Committee not by name, but by family relationship (e.g., "mother of x"). As Fawzan Shukri explained at his deposition,
most beneficiaries of the Saudi Committee - all of whom were chosen by the Saudi Committee based on criteria selected by
the Saudi Committee - were identified by name, and Arab Bank simply processed Arab National Bank's instructions and
deposited funds into the named individuals' accounts, or, for individuals who were not account-holders, made the payments
over the counter upon presentation of satisfactory identification matching the names on the instructions. (J.A. Tab II,
Howard Decl., Ex. B, Shukri Tr. 91:13-93:12, 105:10-106:25, 462:8-463:7.) In 122 instances, the Saudi Committee did not
identify a specific individual as beneficiary, but instead designated the beneficiary solely by specification of his or her
relationship to another individual. (See id., Shukri Tr. 87:2-6, 88:14-89:22.) To address plaintiffs' allegations that in such
cases the Bank required Saudi Committee beneficiaries to present "martyr certificates," stating a cause of death (for the
supposed purpose of assuring that the "martyr" had been a terrorist) (see, e.g., Linde Doc. No. 4, Aug. 10, 2004 First
Amended Complaint, at         312-315), Arab Bank produced the identification records provided by these 122 beneficiaries.
Not one included a "martyr certificate." (See J.A. Tab II, Howard Decl., Ex. B, Shukri Tr. 105:5-9, 313:1-314:14; and Ex.
R, Tahan Tr. 193:4-7 (denying that the Bank received from Saudi Committee beneficiaries "martyr certificates," describing
the cause of death of their relatives, as alleged by plaintiffs).



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account") that plaintiffs have alleged was opened and maintained directly for the benefit of the terrorist

organization Hamas. (See, e.g., Linde Docket No. 4, Aug. 10, 2004 Complaint, at ^ 345-347.) Arab

Bank's production included requests and forms completed in connection with the opening of this

account; copies of the individual account-holder's passport; the authorized signatory cards; account

statements and credit advice forms from 1998 until the closing of the account in 2004; transaction

records relating to the transfer of funds into or out of the account during the same period; account

closing documents; and correspondence relating to the account between the Bank and Lebanese

authorities.   (See, e.g., J.A. Tab II, Howard Decl., Ex. A, Tab 7 to Chart.)      In addition, the Bank

produced for deposition a Fed. R. Civ. P. 30(b)(6) witness from Arab Bank Lebanon to testify

exclusively about the Beirut account. Significantly, the production of all of these records, as well as

the deposition testimony, was made possible by Arab Bank's successful application to the Lebanese

government's Special Investigation Commission to lift bank secrecy restrictions with respect to the

Beirut account. (See J.A. Tab II, Howard Decl., Ex. H.)

                Second, Arab Bank also produced account opening records, background information

that had been gathered by the Bank to comply with its "Know Your Customer" procedures, and over

2,000 transaction records, for the following charitable organizations alleged by plaintiffs to be terrorist

front organizations:

                                  Dar El Salam Hospital
                                  Islamic Charitable Society
                                  Jenin Zakat Committee
                                  Nablus Zakat Committee
                                  Qaliqilyah Zakat Committee
                                  Ramallah Zakat Committee
                                  Tulkaram Zakat Committee

(See J.A. Tab II, Howard Decl., Ex. A, Tabs 9-11 to Chart.)         These documents were available for

production to plaintiffs, notwithstanding the fact that they had originally been subject to foreign bank

secrecy laws, because Arab Bank New York ("ABNY") obtained and produced these documents to the


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U.S. government. Arab Bank made such production pursuant to the order of the U.S. District Court for

the Northern District of Texas, arising out of a DOJ subpoena and a Mutual Legal Assistance Treaty

request to the United Kingdom, both in connection with the Department of Justice prosecution of the

Holy Land Foundation. Thus, plaintiffs received in discovery those account and transaction records

that the U.S. government perceived as relevant to its prosecution of the Holy Land Foundation. To put

it another way, it was the Department of Justice, and not the Bank, that identified the documents

concerning the entities of interest to it, which ultimately were provided to plaintiffs. If the Department

of Justice had deemed relevant to its prosecution records for any of the other entities or individuals that

plaintiffs have alleged were Bank customers and which have given rise to Magistrate Judge

Pohorelsky's recommended sanction number 2, then those documents - to the extent they exist -

would have been available for production to plaintiffs as well.

               As with the Saudi Committee records, these account and transaction records produced

by Arab Bank refute plaintiffs' allegations of knowing support for terrorism.         Rather, they reflect

routine and proper banking practices, including strict adherence to "Know Your Customer" account

opening practices, and processing of routine international wire transfers together with dozens of other

international financial institutions and under the regulatory control of a multitude of international

banking authorities. It is for this reason that plaintiffs urged Magistrate Judge Pohorelsky, and now

presumably will urge this Court, to disregard the evidentiary record and instead permit them to

establish necessary elements of their cause of action against Arab Bank by Court-imposed findings of

fact.

               3.      Arab Bank New York

               To acquire a complete picture of Arab Bank's discovery record, this Court must also

consider the voluminous production to plaintiffs of documents that were not subject to foreign bank

secrecy laws, as well as testimony of Bank witnesses about such records.            At the outset of the


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litigation, the Bank produced from ABNY over 600 transaction records, including wire transfers

involving several of the entities and individuals that plaintiffs allege to be involved with terrorism. As

previously referenced, the Bank also produced from ABNY 73 records reflecting transactions as

originally instructed by the Saudi Committee that had been processed through ABNY.             The Bank

disputes plaintiffs' characterization of these records as somehow demonstrating support for terrorism -

indeed the parties to all of these transactions (including the Saudi Committee) were not on the U.S.

Government list of suspected terrorists, used to screen all transfers at ABNY, at the time of the

transfers. For instant purposes, however, the salient point is that all of these records were produced. In

addition, the Bank produced for deposition five current and former employees of ABNY concerning

the detailed operations of ABNY.

       B.      Administrative Applications

               In addition to making the disclosures discussed above, in most cases before Magistrate

Judge Pohorelsky issued his November 25, 2006 Order conditionally overruling the Bank's foreign

bank secrecy objection, Arab Bank also engaged in extensive efforts to obtain permission from foreign

authorities to make additional disclosures.

               In 2005, pursuant to Article 72 of the Jordanian Banking Law No. 28 of 2000, Arab

Bank made an application to the Jordanian court of original jurisdiction for permission to disclose

records relating to account no. 600/21697-6, a specific account identified by plaintiffs and referenced

in a July 27, 2005 discovery order of Magistrate Judge Pohorelsky. (Linde Doc. No. 81, July 27, 2005

Decision and Order.)    Arab Bank's application to the Jordanian court of original jurisdiction was

granted on September 27, 2005. A prompt appeal of that decision, however, was brought ex parte by

the account holder, and, on October 9, 2005, the Jordanian Appeals Court in Amman issued a ruling

reversing the lower court and rejecting the request for permission to disclose.         (See J.A. Tab II,

Howard Decl., Ex. C.)


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               Also pursuant to the July 27, 2005 discovery order, and in accordance with the

Palestinian Monetary Authority's ("PMA") Banking Law No. 2 of 2002, Arab Bank applied to the

Supreme Judicial Council, Ramallah First Instance Court, for permission to disclose the account

records and information relating to eight specified accounts in the Palestinian territories. Permission

was denied by the First Instance Court (see J.A. Tab II, Howard Decl., Ex. D), and that denial was

upheld on appeals by the Bank by the intermediate appellate court and the Ramallah Civil Court of

Cassation (effectively the Palestinian Supreme Court) (see J.A. Tab II, Howard Decl., Ex. E). So as to

exhaust all possible avenues for the lifting of bank secrecy, Arab Bank sought permission directly from

the PMA to authorize disclosure of the records for the accounts identified in the July 27, 2005 order.

The PMA denied that request on the basis that it did not have the power under Banking Law No. 2 to

authorize disclosure.   (J.A. Tab II, Howard Decl., Ex. F, Arab Bank's request to the PMA and its

denial.)

               Following Magistrate Judge Pohorelsky's November 25, 2006 Order on bank secrecy,

Arab Bank's efforts to obtain requisite authorization for lawful disclosure of records covered by

foreign bank secrecy laws continued in the precise manner directed by the Court. In compliance with

the November 25, 2006 Order, as well as a subsequent May 7, 2007 Document Production Order, Arab

Bank prepared Letters of Request for the Court to issue to the appropriate authorities in Jordan and the

Palestinian Authority seeking assistance in ordering the lawful disclosure of records and information

responsive to the May 7 Order (the May 7 Order was reissued on June 26, 2007 for purposes of

appending to the Letters of Request).    (See J.A. Tab II, Howard Decl., Ex. K.)      These Letters of




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Request were served on the Central Bank and Ministry of Justice in Jordan, and the Palestinian

Authority and Palestinian Ministry of Justice. (J.A. Tab II, Howard Decl., Ex. K.) 10

                 In September 2007, Arab Bank received responses to their Letters of Request, in each

case denying permission to disclose the records or information described in the May 7, 2007 Document

Production Order. (J.A. Tab II, Howard Decl., Ex. L - O.) The responding authorities unequivocally

stated that any production by Arab Bank of records or information protected by the bank secrecy laws

of Jordan and the PMA respectively would expose the Bank and its employees to criminal penalties.

(See, e.g., J.A. Tab II, Sept. 9, 2007, Howard Decl., Ex. L, letter from Omayya Toukan, Governor of

the Central Bank of Jordan ("Moreover, your waiving banking secrecy as reflected in the request

would expose your bank to the imposition of a sanction or action or broader sanctions or actions

provided for in Article 88 of the Banking Law"); and J.A. Tab II, Howard Decl., Ex. M, Sept. 29, 2007

letter from Palestinian Minister of Justice, Dr. Ali Khashan, ("production of these documents would

constitute a clear violation of the banking laws of Palestine").)

                 Following additional proceedings before Magistrate Judge Pohorelsky, specifically to

clarify the geographic scope of the May 7, 2007 Document Production Order (see Linde v. Arab Bank,

2007 WL 4373252), and again in accordance with directions provided by the Court, Arab Bank made

formal requests for authorization to disclose account and/or transaction records responsive to the May

7 Order to the following sovereignties: Egypt, France, Germany, Morocco, Qatar, United Kingdom,

United Arab Emirates, and Yemen. Authorities in Germany, Morocco, Qatar and the United Kingdom

denied Arab Bank's requests. (See Howard Obj. Decl., Ex. B-E.) The French authorities requested

additional information, which was provided, but have not issued any authorization to disclose



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   No Letter of Request was issued to the government of Lebanon because, even before the Court issued its November 25,
2006 Decision and Order, Arab Bank had submitted applications to the Lebanese SIC for authorization to disclose records
of accounts called for by the then-controlling March 3, 2006 Document Production Order. Those applications were denied.



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protected information.    Authorities from the remaining sovereignties have not responded to Arab

Bank's requests.

               By any measure, the Bank's production has been substantial. It is an inescapable fact,

however, that certain jurisdictions have denied their authorization to disclose any further documents or

information, and Arab Bank has thus been compelled to stand on its existing record of production.


                JUDGE POHORELSKY'S REPORT AND RECOMMENDATION

               Notwithstanding Arab Bank's discovery record, plaintiffs brought their Fed. R. Civ. P.

37(b)(2)(A) motion seeking severe sanctions against the Bank as if foreign bank secrecy laws did not

exist and Arab Bank had made no meaningful production of documents and testimony at all. Indeed,

plaintiffs belittled and even misrepresented Arab Bank's            substantial record of compliance,

characterizing the Bank's production as having consisted solely of "some Saudi Committee related

documents" and "a small subset of wire transfers from its former New York branch." (J.A. Tab I, Pl.

Mem. of Law at 7.) Plaintiffs similarly exaggerated or invented the nature and evidentiary value of the

records withheld by the Bank, an exercise which Magistrate Judge Pohorelsky ultimately recognized to

be of little, if any, value as "a subject of speculation." (June 18 Modification at 4.) Indeed, plaintiffs

even claimed, absurdly, that the Bank's motivation for withholding protected bank records was

"willful", "calculated" and "in accordance with its own self-interest," at the same time as they persisted

in their refusal to recognize the significance and impact of foreign bank secrecy laws. (J.A. Tab III, Pl.

Reply Mem. at 4-5.) Magistrate Judge Pohorelsky's Report and Recommendation reflects his refusal

to embrace plaintiffs' distorted view.

       A.      Absence Of Bad Faith

               As previously noted, from the outset of discovery in this litigation, Magistrate Judge

Pohorelsky recognized the applicability of foreign bank secrecy laws to documents and information



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sought by plaintiffs, as well the risks, including criminal penalties, posed by unauthorized disclosure

by the Bank. He reiterated these risks as part of his Report and Recommendation:

               compliance with the disclosures ordered by the court would expose large
               volumes of protected information relating to the defendant's
               accountholders in derogation of specific warnings already given to the
               defendant by foreign authorities in response to the Bank's requests for
               authorization to make the disclosures ordered by this court. Clearly
               compliance with the court's order carries some risk for the defendant.

(June 1 Report at 5.) Magistrate Judge Pohorelsky went on to acknowledge that Arab Bank "has

undertaken a number of steps contemplated to permit disclosure of documents prohibited by foreign

bank secrecy laws, and by virtue of those steps has been able to produce a substantial quantity of

documents sought by the plaintiffs." (June 1 Report at 10.) On the strength of these undeniable facts,

Magistrate Judge Pohorelsky appropriately declined to find that Arab Bank, by withholding protected

evidence, was acting in bad faith. (June 1 Report at 9.)

       B.      No Evidence Of Knowledge Or Intent

               Beyond rejecting plaintiffs' contentions that the Bank had acted in bad faith, Magistrate

Judge Pohorelsky also rejected any and all of plaintiffs proposed sanctions that found or permitted the

inference that the Bank either knew that its financial services were supportive of terrorism or intended

to support terrorism. With respect to the Saudi Committee, in consideration of the fact that 180,000

records produced by the Bank reflected no more than that it had served as a correspondent for Arab

National Bank and in that capacity processed routine money transfer instructions, Magistrate Judge

Pohorelsky concluded:

               There has been no showing that the withheld evidence would be likely to
               provide direct evidence of the knowledge and intent of the Bank in
               providing the financial services at the heart of this case or in entering an
               agreement, if any, with the Saudi Committee.




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(June 1 Report at 15.) In fact, as the Court realized on the motion for reconsideration, whether the

Saudi Committee beneficiary account records "would actually disclose any relevant information . . . is

necessarily a subject of speculation." (June 18 Modification at 4.)

               Similarly, the thousands of account and transaction records produced by Arab Bank

relating to charities alleged by plaintiffs to be terrorist front organizations reflect nothing other than

routine banking activities and reveal no connection between the Bank's customers and any terrorist

organization. Absent a showing that the withheld documents - either account records of individuals

who received monies from the Saudi Committee, or account records for other Arab Bank account-

holders or parties to wire transfers - would substantiate plaintiffs' allegations that the Bank acted

willfully or with knowledge, even an inference, let alone a finding, of knowledge is wholly

unwarranted. See Kronisch v. United States, 150 F.3d 112, 128 (2d Cir. 1998) ("the prejudiced party

may be permitted an inference in his favor so long as he has produced some evidence suggesting that a

document or documents relevant to substantiating         his claim would have been included among the

destroyed [withheld] files.") (emphasis added); Residential Funding Corp. v. DeGeorge           Financial

Corp., 306 F.3d 99, 108-109 (2d Cir. 2002) ("'relevant' in this context means something more than

sufficiently probative to satisfying Rule 401 of the Federal Rules of Evidence"), both cases cited in the

June 1 Report at 15. Thus, Magistrate Judge Pohorelsky appropriately concluded that:

               the factual findings proposed by the plaintiffs concerning the defendant's
               knowledge with respect to the financial services that the defendant
               provided, or may have provided, to charitable organizations and
               individuals are not adequately supported by the records developed thus
               far. Neither the proposed factual findings nor an adverse inference
               instruction are warranted with respect to the defendant's knowledge or
               state of mind.

(June 1 Report at 19-20.)




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       C.      Recommended Sanctions

               While finding no bad faith and no basis to infer actionable knowledge or intent on the

part of Arab Bank, Magistrate Judge Pohorelsky nonetheless found that the records withheld would be

relevant to plaintiffs' claims, and that therefore certain sanctions against the Bank are warranted. The

first two sanctions recommended by him relate to plaintiffs' two core contentions:           that Saudi

Committee payments processed by Arab Bank were paid to terrorists or families of terrorists; and that

Arab Bank provided financial services, directly or indirectly (via front organizations), to terrorist

organizations and individuals associated with terrorist organizations.

               With respect to the       Saudi   Committee, Magistrate Judge Pohorelsky         initially

recommended a finding of fact that Arab Bank had processed payments on behalf of the Saudi

Committee to terrorists or the families of terrorists. (June 1 Report at 22.) This recommendation was

the subject of Arab Bank's motion for reconsideration, which was granted by Magistrate Judge

Pohorelsky upon recognition that:

               the documents produced by the bank did in fact provide a good deal of
               information about the identity of each recipient of such a payment, the
               amount and timing of each payment, and other information concerning
               each payment transaction . . . .

               The failure to appreciate the nature and extent of the information
               provided by the defendant led the court to overestimate the importance
               of the evidence that has been withheld and the extent of the consequent
               prejudice to the plaintiffs. This in turn resulted in an overstatement of
               the remedy necessary to restore the evidentiary balance that is a central
               object of any sanction.

(June 18 Modification at 3.) Magistrate Judge Pohorelsky accordingly modified his recommended

sanction from an adverse finding to a non-mandatory adverse inference that the Saudi Committee

beneficiary account records withheld by Arab Bank would show that some of the Saudi Committee

beneficiaries were terrorists or relatives of terrorists.   (June 18 Modification at 4.)     The Bank




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respectfully submits that even this recommended adverse inference is not "the remedy necessary to

restore the evidentiary balance."

               Arab    Bank   did   not   seek   reconsideration   of   Magistrate   Judge   Pohorelsky's

recommendation with respect to plaintiffs' second theory of liability, namely an adverse, non-

mandatory inference that Arab Bank provided financial services "either directly or indirectly" to

terrorist organizations, but the Bank does object to the "directly" language in this proposed sanction.

Arab Bank does not disagree that an inference is warranted that the Bank provided financial services to

certain charities in addition to the 8 charities for which the Bank produced account and transaction

records.   The Bank does, however, object to extending the inference to terrorist organizations

themselves - i.e., that the jury may infer that it provided financial services "directly to terrorist

organizations.". Not only is the record devoid of any suggestion of such direct financial services, but

Arab Bank witnesses consistently have testified that the Bank's practices and procedures prohibit the

opening of an account for an unauthorized entity like Hamas or any other terrorist organization (J.A.

Tab II, Howard Decl., Ex. B, Shukri Tr. 224:6-13, 243:18-244:8, 318:15-12), nor would the Bank's

employees do so as a matter of professional and personal policy (J.A. Tab II, Howard Decl., Ex. R, Al-

Tahan Tr. 163:1-11).

               In addition to the two recommended sanctions that are the subject of the Bank's

objections, Magistrate Judge Pohorelsky also recommended admission of authenticity of records

obtained by plaintiffs from other sources as Arab Bank records, and a prohibition against the Bank

offering in evidence at trial documents withheld on bank secrecy grounds. Arab Bank does not object

to those two recommended sanctions.




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                                             ARGUMENT

I.     ONLY SANCTIONS NECESSARY TO RESTORE AN EVIDENTIARY BALANCE
       ARE WARRANTED.

               In Societe Internationale   pour Participations   Industrielles   et Commerciales,   S.A. v.

Rogers, 357 U.S. 197, 211 (1958), a case addressing a conflict between a discovery order in U.S. civil

litigation and a foreign Swiss criminal statute which prevented a party from producing requested

documents, the Supreme Court recognized that there are circumstances when non-compliance with

discovery orders may well be justified and should not necessarily give rise to sanctions. Reversing the

lower court's dismissal of the non-producing plaintiff s complaint, the Supreme Court stated:

               [Petitioner's failure to satisfy fully the requirements of this production
               order was due to inability fostered neither by its own conduct nor by
               circumstances within its control. It is hardly debatable that fear of
               criminal prosecution constitutes a weighty excuse for nonproduction, and
               this excuse is not weakened because the laws preventing compliance are
               those of a foreign sovereign.

See also In re Westinghouse Elec. Corp. Uranium Contracts Litig, 563 F.2d 992, 997 (10th Cir. 1977)

("the fact of foreign illegality may prevent the imposition of sanctions for subsequent disobedience to

the discovery order.")

               Like the non-producing party in Rogers, Arab Bank, too, made substantial efforts to

comply with the Court's discovery orders, and its inability to comply completely was solely the

"weighty excuse" of criminal exposure in foreign sovereignties. The role of sanctions in cases such as

this is not to punish the non-producing party, or to deter future non-compliance which is entirely

beyond a party's control, but rather "to restore the 'evidentiary balance' that has been disturbed by the

non-production of important evidence." (June 1 Report, at 2, quoting Turner v. Hudson Transit Lines,

Inc., 142 F.R.D. at 75.) Any sanction must be "just" and its severity must be "commensurate with the

non-compliance".     (June 1 Report, at 3, quoting respectively Fed. R. Civ. P. 37(b)(2)(A) and

Shcherbakovsky v. DaCapo Al Fine, Ltd., 490 F.3d 130, 140 (2d Cir. 2007).)


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               In addition to these guiding principles, the Court may consider a variety of factors in

deciding an appropriate sanction.    Since the Supreme Court's decision in Rogers, there have been

numerous occasions on which courts have had to address conflicts between discovery proceedings in

U.S. litigation and foreign statutes that prevented such discovery. Courts have had to address, in the

first instance (as this Court already has), whether even to order disclosure.       See, e.g., Minpeco v.

Conticommodity    Services, Inc., 116 F.R.D. 517 (S.D.N.Y. 1987). Even when an order of disclosure

may be appropriate under particular circumstances, sanctions for failure to comply with that order do

not necessarily follow.     Westinghouse,   563 F.2d 992; see also Restatement (Third) of Foreign

Relations Law § 442 (1987) (the determination as to whether such sanctions are appropriate itself

warrants its own comity analysis). The most relevant factors to this analysis, and the ultimate decision

as to whether and what sanctions against Arab Bank are appropriate, are (a) Arab Bank's record of

good faith in discovery, which has been substantial; (b) the hardship of full compliance on Arab Bank,

which would have been substantial; (c) the importance of the foreign bank secrecy laws, which the

affected sovereignties have directly informed the Court is substantial; and (d) the importance to

plaintiffs of the non-produced information and documents, which, given the nature and extent of the

information and documents already produced by the Bank, is limited.              Rogers, 357 U.S. 197;

Restatement (Third) of Foreign Relations Law § 442 and comments thereto. Detailed discussion of

each of these factors, as applicable to Arab Bank's discovery record in this litigation, appears at pp. 28-

43 of the Bank's Memorandum in Opposition to Plaintiffs' Motion for an Order Pursuant to Fed. R.

Civ. P. 37(b)(2)(A), which the Bank submits herewith at J.A. Tab II and incorporates by reference. On

this record, sanctions less severe than those recommended by Magistrate Judge Pohorelsky, if any at

all, are warranted.




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II.    THE FIRST TWO SANCTIONS RECOMMENDED BY MAGISTRATE JUDGE
       POHORELSKY ARE UNNECESSARY AND UNWARRANTED.

       A.      Arab Bank's Production With Respect To The Saudi Committee Has Achieved An
               Evidentiary Balance Without The Need For Recommended Sanction Number 1.

               As modified, Magistrate Judge Pohorelsky's recommended sanction relating to the

Saudi Committee would permit a jury to infer that Arab Bank "processed and distributed payments on

behalf of the Saudi Committee . . . to terrorists, or to the relatives or representatives of terrorists,

including terrorists affiliated with Hamas" or other named terrorist organizations.           (June 18

Modification at 4.) There is no question that Arab Bank processed and distributed payments that were

originated by the Saudi Committee - although the language of the proposed inference omits the

intervening presence of Arab National Bank, of which the Saudi Committee was a customer and which

had a correspondent banking relationship with Arab Bank. The more than 175,000 Saudi Committee

payment instructions produced by Arab Bank already establish this fact. The issue then is whether an

"evidentiary balance" mandates the second part of the inference, namely that the withheld beneficiary

account records would demonstrate that some of the beneficiaries of Saudi Committee payments

processed by Arab Bank were terrorists or relatives of terrorists. The Bank respectfully submits it does

not.

               The account records of the individual Saudi Committee beneficiaries, which have been

withheld on bank secrecy grounds, would not, of course, expressly identify any beneficiary as a

terrorist or relative of a terrorist. Magistrate Judge Pohorelsky himself acknowledged that the content

of the withheld account records is "necessarily a subject of speculation." (June 18 Modification at 4.)

It is not just speculative, but illogical to conclude that any recipient of a Saudi Committee payment

processed by Arab Bank would declare himself or herself to the Bank to be a terrorist or family

member of a terrorist. Indeed, the many thousands of Saudi Committee beneficiaries who did not

maintain accounts at Arab Bank, were required to verify their identity only by presentation of official


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identification cards matching the name on the transfer instruction to receive payment. (J.A. Tab II,

Howard Decl., Ex. B, Shukri Tr. at 91:1-93:12, 105:10-19.) Plainly, official identification cards do not

specify "terrorist" or "relative of terrorist" - and in the absence of such a designation, it is self-evident

that the Bank had no such information. Similarly, for the Arab Bank account-holders who received

Saudi Committee payments, there was no line item in the account opening records or other "Know

Your Customer" information (e.g., birth certificates, passports, identification cards) to designate any

beneficiary as a terrorist or relative of a terrorist. 11

                  In actuality, any evidence that any Saudi Committee beneficiary was either a terrorist or

related to a terrorist exists, if at all, in public records outside the Bank, and plaintiffs already have the

advantage of being able to proffer any such evidence without concern of rebuttal by Arab Bank using

withheld account records. In other words, from the more than 175,000 Saudi Committee payment

instructions Arab Bank produced, plaintiffs have the full names (and other identifying information) of

every person who received Saudi Committee money through Arab Bank. If plaintiffs can establish,

with admissible evidence, that any one of those people was a terrorist or relative of a terrorist, Arab

Bank is not going to be able to use non-produced Bank records to refute that showing. That is the

effect of Magistrate Judge Pohorelsky's recommended sanction no. 4, to which Arab Bank does not

object and which makes the recommended adverse inference superfluous.

                  An example from plaintiffs' own papers is instructive:                        Arab Bank produced to

plaintiffs the payment instruction reflecting a transfer from the Saudi Committee of $2,655.78 on

11
    Plaintiffs have also claimed to be prejudiced by not having been provided with account transaction records for Saudi
Committee beneficiaries. In essence, plaintiffs have suggested that a forensic examination of the account activities of Saudi
Committee beneficiaries, including other sources of deposits and the uses made of the Saudi Committee funds, would
somehow support their allegation that some of these beneficiaries were terrorists or related to terrorists. (See, e.g., J.A. Tab
I, Pl. Mem. at 28: "Other transfers into the same account in some cases could reveal similar instances of other payments
from other sources on behalf of the same martyr, further confirming his or her identity.") Beyond the purely speculative
nature of this suggestion, it is also inherently inconsistent with plaintiffs' core contention that the Saudi Committee
payments were themselves, on their face, support for terrorism. Now that the complete production of every single Saudi
Committee payment has been made, and the true humanitarian nature of those payments is clear, plaintiffs have had to
invent new - and inconsistent - theories.



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May 23, 2001 to Ibrahim Ahmad Khaled al-Muqadama. (Howard Obj. Decl., Ex. F, ABPLC019283.)

Plaintiffs contend that Ibrahim Ahmad Khaled al-Muqadama was "one of the founders of Hamas." (JA

Tab I, Pl. Mem. of Law at 26.)        Their contention that he was a founder of Hamas presumably is

informed by sources other than the records produced by the Bank, since nowhere is that information

suggested by the Saudi Committee transfer instruction. Even more importantly, there is absolutely no

reason to believe that the withheld Bank records - in the case of Ibrahim Ahmad Khaled al-

Muqadama, a mere identification card since he was not an account holder and received his Saudi

Committee payment over the counter in cash (Howard Obj. Decl., Ex. F) - would be probative at all of

that beneficiary's supposed link to Hamas. Finally, and perhaps most importantly, if plaintiffs do have

admissible evidence that Ibrahim Ahmad Khaled al-Muqadama was a founding member of Hamas,

Arab Bank would not be able to use the withheld identification card, or any other withheld documents,

to establish that the Saudi Committee beneficiary that the Bank paid was a different Ibrahim Ahmad

Khaled al-Muqadama. That prohibition, encompassed by recommended sanction no. 4, establishes a

proper and sufficient "evidentiary balance."

       B.     Recommended Sanction Number 2 Regarding Alleged Arab Bank Customers Is
              Over-Inclusive.

              Proper consideration of Magistrate Judge Pohorelsky's second recommended adverse

inference, and Arab Bank's objection thereto, requires this Court's familiarity with some background

to the operative discovery order that gave rise to plaintiffs' motion for sanctions. The May 7, 2007

Document Production Order, issued after Arab Bank's bank secrecy objection was conditionally

overruled, directed the Bank to produce, inter alia, account opening and transaction records for

specified entities and individuals.    Those entities and individuals were identified in two separate

appendices, Appendix A and Appendix B (See J.A. Tab I, Ungar Decl., Ex. 7 at Appendices A and B.)




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               The Appendices A and B to the May 7, 2007 Document Production Order, as prepared

by plaintiffs, appeared to distinguish between charitable organizations in the Palestinian Territories

alleged by plaintiffs to be terrorist front organizations, and terrorist organizations themselves as well as

individuals alleged to be directly involved with terrorist organizations. Thus, Appendix A contained

the names of 36 charities, while Appendix B contained the names of 8 alleged terrorist organizations,

including Hamas, Palestinian Islamic Jihad and Al Aqsa Martyrs' Brigade, as well as the names of 56

individuals who allegedly were agents of those organizations.

               Arab Bank took no issue with Appendix A. Plaintiffs' preparation of a comprehensive

list of charities as potential Arab Bank customers from which discovery was sought appeared relevant

to their claims. Indeed, Arab Bank had already produced its account records for 8 of the charities

identified in Appendix A. As explained in the Statement of Facts, Section A.2. supra, this production

was comprised of account and transaction records demanded by the U.S. government in connection

with the prosecution of the Holy Land Foundation. Moreover, as Arab Bank's witnesses have testified

at deposition, the Bank as a matter of routine policy and practice opened accounts for properly licensed

organizations, which all of those charities were (indeed, many were licensed by the Israeli

government). (See J.A. Tab II, Howard Decl., Ex. B, Shukri Tr. 243:18-244:8.) Therefore, it was not

unreasonable for plaintiffs, in framing discovery demands, to inquire as to whether Arab Bank held

accounts and/or processed transactions for more than the 8 charities for which Arab Bank had already

produced its records (those effectively selected for production by U.S. prosecutors).        Correlatively,

with the production of records of additional charities foreclosed by foreign bank secrecy laws, it would

not be unreasonable for a jury to infer that the Bank performed financial services for additional

charities.




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               Any    similar inference with respect to financial services directly         for terrorist

organizations or known terrorists, however, is entirely unwarranted. There was no production by Arab

Bank of any such direct accounts or transactions. Moreover, the unequivocal testimony was that Bank

policies and practices precluded Arab Bank from maintaining accounts or performing financial

services for Hamas or other illegal terrorist organizations:

               Q. BY MR. WERBNER: Was Arab Bank permitted to knowingly
                  transfer funds on behalf of Hamas or an entity that was controlled by
                  Hamas?

                   (Objection omitted)

               A. THE WITNESS: Sir, you mentioned something very important here,
                  that Hamas is an illegal entity, and I automatically measure that term
                  illegal with our policies and procedures. Such an entity would not
                  have a license and therefore cannot be established as a bank
                  customer.

(J.A. Tab II, Howard Decl., Ex. B, Shukri Tr. 318:15-23; see also id, Shukri Tr. 224:6-13, 243:18-

244:8: "Our KYC demands that a license is presented, a sponsor of that entity is presented, but simply

to open an account for an entity that does not have a license by a competent authority that not declare

its articles of association and purposes, we cannot do that.") In fact, Arab Bank witnesses consistently

testified that, as a matter of principle, the people of the Bank would not do business with "criminals"

like Hamas.    Such was the testimony of Arab Bank's Director of Operations in the Palestinian

Territories since 2000. (J.A. Tab II, Howard Decl., Ex. R., Al-Tahan Tr. 163:6-11: "We have no

dealings whatsoever with these criminals . . . We in the Arab Bank in Palestine don't deal with them at

all.")

               The list compiled by plaintiffs and incorporated in Appendix B to the May 7, 2007

Document Production Order, thus is no more than a list of known and alleged terrorist organizations

and individual agents of terrorist organizations. Plaintiffs could just as easily have added to their list

the names of other terrorist organizations or terrorists (e.g., Al Qaeda and Osama bin Laden) or for that


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matter entirely benign names (e.g., New York Giants or Eli Manning) with no more evidentiary

support than exists for those entities and individuals actually included in Appendix B. The fact that

foreign bank secrecy laws would prevent Arab Bank from providing any records or information about

any specific account held (or not held) for particular entities or individuals would no more warrant an

inference that such accounts existed than for the other entities and individuals included in Appendix B.

               Accordingly, Arab Bank objects to sanction number 2 recommended by Magistrate

Judge Pohorelsky to the extent it would permit a jury to infer that Arab Bank provided financial

services "directly" to foreign terrorist organizations.     Such an inference is not supported by the

evidentiary record and would effectively place plaintiffs in a better position than if Arab Bank had

been free to make a complete production of its foreign customer records.


                                             CONCLUSION

               For the above reasons, Arab Bank respectfully objects to two sanctions against the Bank

recommended by Magistrate Judge Pohorelsky in his Report and Recommendation, specifically

sanction no. 1, as modified (June 18 Modification at 4) in its entirety, and sanction no. 2 (June 1

Report at 22) to the extent it proposes an inference of financial services by the Bank "directly" on

behalf of terrorist organizations and individuals associated with terrorist organizations.

Dated:   New York, New York
         July 16, 2009




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